













NUMBER 13-04-00618-CV



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG 


______________________________________________________________


9999 HOLDINGS, INC. AND GEORGE KOUMBIS,	Appellants,


v.



MAX HEATHERINGTON AND AMERICAN

TACTICAL AMMUNITION, INC.,	Appellees.

_____________________________________________________________


On appeal from County Court at Law No. 3 of Nueces County, Texas.


______________________________________________________________


MEMORANDUM OPINION


	

Before Chief Justice Valdez and Justices Yañez and Benavides


Memorandum Opinion Per Curiam


	This appeal was abated by this Court on March 24, 2005, due to the bankruptcy of
one of the parties to this appeal.   See 11 U.S.C. § 362; see generally Tex. R. App. P. 8. 
Since the abatement there has been no activity in this appeal.  On May 15, 2009, the Court
ordered the parties to file an advisory regarding the status of the appeal and, if applicable,
a motion to reinstate the appeal or a motion to dismiss the appeal.  The order  notified the
parties that failure to respond to the order would result in reinstatement and dismissal of
the appeal for want of prosecution.  

	The parties have failed to respond.  Accordingly, we reinstate and dismiss the
appeal for want of prosecution.  See Tex. R. App. P. 42.3(b).


								PER CURIAM


Memorandum Opinion delivered and filed

this the 25th day of June, 2009. 





	


